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                               Nebraska Supreme Court Advance Sheets
                                        305 Nebraska Reports
                                                 BENJAMIN v. BIERMAN
                                                   Cite as 305 Neb. 879



                   Brenda L. Benjamin, Personal Representative of the
                    Estate of Mark W. Benjamin, deceased, appellant
                     and cross-appellee, v. Douglas S. Bierman and
                         Sixth Street Rentals, L.L.C., appellees
                                  and cross-appellants.
                   Brenda L. Benjamin, Personal Representative of the
                    Estate of Mark W. Benjamin, deceased, appellant
                    and cross-appellee, v. Douglas S. Bierman et al.,
                             appellees and cross-appellants.
                                                       ___ N.W.2d ___

                                        Filed May 22, 2020.     Nos. S-19-328, S-19-329.

                 1. Trial: Witnesses: Evidence: Appeal and Error. In a bench trial of an
                    action at law, the trial court is the sole judge of the credibility of the
                    witnesses and the weight to be given their testimony; an appellate court
                    will not reevaluate the credibility of witnesses or reweigh testimony but
                    will review the evidence for clear error.
                 2. Trial: Equity: Appeal and Error. On appeal from the bench trial of an
                    equity action, the standard of review is de novo on the record and the
                    court must resolve questions of law and fact independently of the trial
                    court’s determinations.
                 3. Equity: Appeal and Error. When the evidence is in conflict, the
                    appellate court considers and may give weight to the fact that the trial
                    court observed the witnesses and accepted one version of the facts
                    over another.
                 4. Contracts. The interpretation of a contract and whether the contract is
                    ambiguous are questions of law subject to independent review.
                 5. ____. A contract written in clear and unambiguous language is not sub-
                    ject to interpretation or construction and must be enforced according to
                    its terms.
                 6. ____. The court must accord clear terms their plain and ordinary mean-
                    ing as an ordinary or reasonable person would understand them.
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            Nebraska Supreme Court Advance Sheets
                     305 Nebraska Reports
                           BENJAMIN v. BIERMAN
                             Cite as 305 Neb. 879
 7. ____. The fact that the parties have suggested opposite meanings of a
    disputed instrument does not necessarily compel the conclusion that the
    instrument is ambiguous.
 8. ____. A court is not free to rewrite a contract or to speculate as to terms
    of the contract which the parties have not seen fit to include.
 9. ____. Extrinsic evidence is not permitted to explain the terms of a con-
    tract that is unambiguous.
10. Witnesses: Testimony. The credibility of a witness is a question for the
    trier of fact, and it is within its province to credit the whole of the wit-
    ness’ testimony, or any part of it, which seemed to it to be convincing,
    and reject so much of it as in its judgment is not entitled to credit.
11. Trial: Expert Witnesses. A trier of fact is not bound to accept expert
    opinion testimony.
12. Expert Witnesses. The determination of the weight that should be given
    expert testimony is uniquely the province of the fact finder.

  Appeals from the District Court for Buffalo County: John
H. Marsh, Judge. Affirmed.
  Bradley D. Holbrook and Nicholas R. Norton, of Jacobsen,
Orr, Lindstrom &amp; Holbrook, P.C., L.L.O., for appellants.
  William J. Lindsay, Jr., and John A. Svoboda, of Gross &amp;
Welch, P.C., L.L.O., Kenneth F. George, of Ken George Law
Office, and Luke M. Simpson, of Bruner, Frank &amp; Schumacher,
L.L.C., for appellees.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.
   Per Curiam.
                     I. INTRODUCTION
   Brenda L. Benjamin, personal representative of the estate
of Mark W. Benjamin, filed separate complaints against
Douglas S. Bierman (Doug) and Sixth Street Rentals, L.L.C.
(Rentals), and against Doug, Eugene J. Bierman, and Sixth
Street Development, L.L.C. (Development) (collectively appel-
lees). In her complaints, Brenda generally sought an account-
ing, to dissolve both Rentals and Development, and damages.
The district court found that appellees breached the operating
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            Nebraska Supreme Court Advance Sheets
                     305 Nebraska Reports
                          BENJAMIN v. BIERMAN
                            Cite as 305 Neb. 879
agreements of Rentals and Development, ordered an account-
ing for each, declined to dissolve either, and awarded Brenda
damages of $22,200 with respect to Rentals and $473,233 with
respect to Development. We affirm.

                      II. BACKGROUND
   This is a companion case to Bierman v. Benjamin. 1 Mark
passed away on April 14, 2015, leaving his wife, Brenda, as
his primary beneficiary and the personal representative of
his estate. In addition to Mark’s share of BD Construction,
Inc./Kearney (BD), Mark owned a one-half share of Rentals
(case No. S-19-328) with Doug and a one-third inter-
est in Development along with Doug and Eugene (case No.
S-19-329).
   Development is in the business of renting storage units.
Pursuant to an oral lease, Development also rents, for $8,000
per month, the office building and shop utilized by BD, and
it owns another building near the BD building and shop, as
well as some vacant lots held for sale. Rentals owns trailers
used for construction offices and storage, and a utility vehi-
cle, all of which are rented to BD for approximately $4,000
per month.
   Mark was acting as manager for both Rentals and
Development at the time of his death. After Mark’s death,
Doug took over the manager position for both and continues to
serve in that capacity. The record shows no formal action was
taken to appoint Doug as manager of Development; rather,
Doug called Eugene (his father) to inform him that Doug
was going to elect himself as manager. At a later date, Doug
issued a formal notice and minutes reflecting that change. In
the same way, Doug named himself manager of Rentals and
communicated that change to Brenda. Brenda testified that
with respect to Development, Doug informed her that he and
Eugene were prepared to outvote her on anything she might
1
    Bierman v. Benjamin, ante p. 860, ___ N.W.2d ___ (2020).
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         Nebraska Supreme Court Advance Sheets
                  305 Nebraska Reports
                     BENJAMIN v. BIERMAN
                       Cite as 305 Neb. 879
want to do. As for Rentals, Brenda was less concerned with
Doug’s naming himself manager, because all of Rentals’ assets
were in the control of, and maintained by, BD.
   Counsel for Rentals and Development sent notices to Brenda,
pursuant to the respective separate but identical operating
agreements, stating that Rentals and Development wished to
buy out Mark’s shares.
   Brenda testified she and Doug had generally reached an
agreement that Doug would buy out Mark’s interest in Rentals
and that Doug and Eugene would buy out Mark’s interest
in Development. Brenda would then receive Development’s
interest in a storage facility jointly owned by Development,
Mark’s estate, and a third entity, as an offset against the pur-
chase price for Mark’s interest in Development.
   In November 2015, Brenda and Doug agreed to have both
Rentals and Development valued. As relevant to this appeal,
the business appraisals were completed by Terry Galloway.
Galloway testified that Brenda and Doug agreed that December
31, 2014, was a more reasonable cutoff as the valuation
date, rather than Mark’s date of death just 4 months later.
Ultimately, Galloway valued Rentals at $144,400, with Mark’s
one-half interest valued at $72,200, and valued Development
at $5,641,700, with Mark’s one-third interest valued at
$1,880,900. The value of Development included $1.75 million
in life insurance proceeds on Mark’s life. These valuations
were completed in March 2016.
   Brenda testified that by the end of March 2016, she became
aware there was going to be a problem closing on all three enti-
ties (BD, Rentals, and Development) at the same time. Closing
was set for April 15, 2016, but it never occurred. Brenda testi-
fied that Doug refused to close and that he informed her the
negotiations into BD needed to be rethought in light of the
values assigned to Rentals and Development. Doug testified
that he was unsure whether he wanted to own Rentals if he
did not also own BD and that he did not have the money to
buy Rentals at the time he sent notice of his election to do so.
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          Nebraska Supreme Court Advance Sheets
                   305 Nebraska Reports
                       BENJAMIN v. BIERMAN
                         Cite as 305 Neb. 879
Doug never offered to close on Rentals. As for Development,
Doug wanted a determination as to whether the life insur-
ance proceeds were included in BD before he closed on
Development.
   Following the failure to close on Rentals and Development,
Brenda filed lawsuits on June 1, 2016, seeking various forms
of relief as to both entities. Following a bench trial, the district
court found that appellees breached the operating agreements
of Rentals and Development, ordered an accounting for each,
declined to dissolve either, and awarded Brenda damages of
$22,200 with respect to Rentals and $473,233 with respect to
Development. These appeals followed.

                III. ASSIGNMENTS OF ERROR
   On appeal, Brenda assigns that the district court erred in not
ordering both Rentals and Development dissolved.
   On cross-appeal, appellees assign, restated, that the district
court erred in (1) finding that the operating agreements set
forth an unambiguous method for determining fair market
value; (2) finding that Galloway’s appraisal was fair market
value for purposes of the operating agreements; (3) finding
that Galloway was an independent appraiser; (4) finding that
the proper date of valuation was December 31, 2014, and not
April 14, 2015; (5) finding that Galloway’s valuation was sub-
stantially complete as of November 30, 2015, for purposes of
determining when the 120-day period in which appellees were
obligated to purchase Mark’s interest; (6) finding that fair mar-
ket value was established by Galloway’s opinion of value as of
November 30, 2015; (7) entering judgment without determin-
ing the correct fair market value of Mark’s interest; (8) finding
that appellees refused to complete the purchase of Mark’s inter-
est, because no agreement had been reached on BD; (9) find-
ing that appellees rejected Galloway’s valuation only when the
parties did not agree on the value of the BD stock; (10) finding
that appellees failed to negotiate in good faith and breached
the contract to purchase Mark’s interest from Brenda under the
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            Nebraska Supreme Court Advance Sheets
                     305 Nebraska Reports
                          BENJAMIN v. BIERMAN
                            Cite as 305 Neb. 879
operating agreements and that such was a substantial failure
of the exchange; (11) denying Development’s counterclaim
for specific performance; (12) not using the value determined
by their appraiser; (13) finding the starting date for accrual of
interest to be March 30, 2016; and (14) awarding $22,200 and
$437,233, respectively, plus interest, to Brenda.
                 IV. STANDARD OF REVIEW
   [1] In a bench trial of an action at law, the trial court is the
sole judge of the credibility of the witnesses and the weight to
be given their testimony; 2 an appellate court will not reevalu-
ate the credibility of witnesses or reweigh testimony but will
review the evidence for clear error. 3
   [2,3] On appeal from the bench trial of an equity action, the
standard of review is de novo on the record and the court must
resolve questions of law and fact independently of the trial
court’s determinations. 4 When the evidence is in conflict, the
appellate court considers and may give weight to the fact that
the trial court observed the witnesses and accepted one version
of the facts over another. 5
   [4] The interpretation of a contract and whether the con-
tract is ambiguous are questions of law subject to indepen-
dent review. 6
                       V. ANALYSIS
                    1. Brenda’s Appeal
  On appeal, Brenda argues that the district court erred in
not ordering Rentals and Development to be dissolved under
2
    U.S. Pipeline v. Northern Natural Gas Co., 303 Neb. 444, 930 N.W.2d 460    (2019).
3
    Id.4
    See Robertson v. Jacobs Cattle Co., 285 Neb. 859, 830 N.W.2d 191    (2013).
5
    See O’Connor v. Kearny Junction, 295 Neb. 981, 893 N.W.2d 684 (2017).
6
    DH-1, LLC v. City of Falls City, ante p. 23, 938 N.W.2d 319 (2020).
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            Nebraska Supreme Court Advance Sheets
                     305 Nebraska Reports
                          BENJAMIN v. BIERMAN
                            Cite as 305 Neb. 879
the authority of Neb. Rev. Stat. § 21-147(a)(4)(B) or (a)(5)(B)
(Reissue 2012), which subsections provide:
      A limited liability company is dissolved, and its activi-
      ties must be wound up, upon the occurrence of any of the
      following:
         ....
         (4) on application by a member, the entry by the dis-
      trict court of an order dissolving the company on the
      grounds that:
         ....
         (B) it is not reasonably practicable to carry on the
      company’s activities in conformity with the certificate of
      organization and the operating agreement; or
         (5) on application by a member, the entry by the dis-
      trict court of an order dissolving the company on the
      grounds that the managers or those members in control of
      the company:
         ....
         (B) have acted or are acting in a manner that is
      oppressive and was, is, or will be directly harmful to the
      applicant.
   As an initial matter, appellees argue that Brenda lacks stand-
ing to request dissolution. We agree.
   Both Rentals and Development are limited liability corpo-
rations, governed by the Nebraska Uniform Limited Liability
Company Act. Under that act, a member is defined as “a person
that has become a member of a limited liability company under
section 21-130 and has not dissociated under section 21-145.” 7
Neb. Rev. Stat. § 21-145 (Reissue 2012) provides that a person
is “dissociated as a member from a limited liability company”
upon the death of that person. Thus, upon Mark’s death, he was
dissociated and was no longer a member per the definition of
the term under the act.
7
    Neb. Rev. Stat. § 21-102 (Reissue 2012).
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            Nebraska Supreme Court Advance Sheets
                     305 Nebraska Reports
                          BENJAMIN v. BIERMAN
                            Cite as 305 Neb. 879
   Dissociated members’ “right to participate as a member
in the management and conduct of the company’s activities
terminates,” 8 and thereafter, a dissociated member has limited
rights. In the instance presented here, the death of a member,
“the deceased member’s personal representative or other legal
representative may exercise the rights of a transferee provided
in subsection (c) of section 21-141 and, for the purposes of
settling the estate, the rights of a current member under sec-
tion 21-139.” 9 These rights are limited and primarily consist
of the right to have access to records or other information
concerning the company’s activities.
   Brenda has alleged that dissolution is proper under
§ 21-147(a)(4)(B) and (a)(5)(B). Both of those subsections
require an application to be made by a member, but Mark
ceased to be a member upon his death. By virtue of this disso-
ciation, Brenda is also not a member. As such, she cannot seek
dissolution under the plain language of the act.
   Nor are we persuaded by Brenda’s contention that article
IX, section 2, of the operating agreement granted Mark the
power to transfer governance power, along with his economic
interest, in Rentals and Development. That section provides:
      Any Member may transfer by gift or bequest all or any
      portion of his or her interest in the Company to a spouse
      or child of the transferring Member, or to a trust estab-
      lished for the benefit of such spouse or child, or to an
      existing Member of the Company upon written notice to
      the Company, of such gift or bequest.
   We read the plain language of this section of the agree-
ments as permitting the transfer of some or all of a member’s
or dissociated member’s interest in a limited liability company
by gift or bequest. Indeed, under Neb. Rev. Stat. §§ 21-140and 21-141 (Reissue 2012) of the act, an interest in a limited
liability company is personal property that is transferable.
8
    Neb. Rev. Stat. § 21-146(1) (Reissue 2012).
9
    Neb. Rev. Stat. § 21-143 (Reissue 2012).
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             Nebraska Supreme Court Advance Sheets
                      305 Nebraska Reports
                           BENJAMIN v. BIERMAN
                             Cite as 305 Neb. 879
But any interest that is transferred is accompanied by limited
rights, as discussed above. 10 We do not read the language of the
operating agreements as broadening the rights accompanying
the interest to include governance power or, indeed, any other
power beyond that permitted by the act.
   We agree with appellees that Brenda lacks standing to seek
dissolution, and therefore, we find no merit to her assignment
of error on appeal.

                  2. Appellees’ Cross-Appeal
   On cross-appeal, appellees assign 17 separate assignments
of error. Generally, appellees take issue with the fair market
value of Rentals and Development, and they assign error
to the district court’s interpretation of the operating agree-
ments regarding the calculation of the value, as well as the
district court’s adoption of one expert’s value over another
expert’s value. Appellees also argue that the court should
have ordered specific performance of the contract for the
purchase of Mark’s shares and that the court erred in finding
a breach of that contract and awarding Brenda damages for
the breach.

                (a) Assignments of Error Related
                       to Fair Market Value
   Appellees’ primary arguments on appeal center on the fair
market value of Rentals and Development. Appellees first
assign that the district court erred in finding that the operating
agreements set forth an unambiguous method for determining
the fair market value of Rentals and Development. In contrast,
Brenda argues that the operating agreements did set forth how
fair market value was to be determined—either the parties were
to agree to it or, in the absence of agreement, the parties were
to appoint an independent, third-party appraiser to calculate
that value.
10
     See, § 21-141; Neb. Rev. Stat. § 21-143 (Reissue 2012).
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             Nebraska Supreme Court Advance Sheets
                      305 Nebraska Reports
                           BENJAMIN v. BIERMAN
                             Cite as 305 Neb. 879
   [5-9] A contract written in clear and unambiguous lan-
guage is not subject to interpretation or construction and
must be enforced according to its terms. 11 The court must
accord clear terms their plain and ordinary meaning as an
ordinary or reasonable person would understand them. 12 The
fact that the parties have suggested opposite meanings of a
disputed instrument does not necessarily compel the conclu-
sion that the instrument is ambiguous. 13 A court is not free to
rewrite a contract or to speculate as to terms of the contract
which the parties have not seen fit to include. 14 Extrinsic evi-
dence is not permitted to explain the terms of a contract that
is unambiguous. 15
   The agreements provide in relevant part:
      In the event that a Member dies . . . , the Company may
      at its option repurchase the deceased . . . Member’s
      interest in the Company for an amount equal to the fair
      market value of such interest on the Member’s date of
      death . . . . The fair market value of the Member’s inter-
      est shall be as agreed in good faith by the Company and
      the personal representative(s) of the deceased Member’s
      estate . . . ; provided that if no such agreement has been
      reached within ninety (90) days of the date of death . . . ,
      then the fair market value shall be determined by an inde-
      pendent and duly qualified appraiser mutually agreeable
      to the Company and the estate of the deceased Member
      . . . which shall equally bear equally [sic] the cost of
      such appraisal. The fair market value of the deceased
      Member’s interest . . . shall be payable by the Company
      to the deceased Member’s estate . . . within one hundred
11
     DH-1, LLC v. City of Falls City, supra note 6.
12
     Ray Anderson, Inc. v. Buck’s Inc., 300 Neb. 434, 915 N.W.2d 36 (2018).
13
     Id.14
     Id.15
     Id.                                   - 889 -
             Nebraska Supreme Court Advance Sheets
                      305 Nebraska Reports
                          BENJAMIN v. BIERMAN
                            Cite as 305 Neb. 879
      twenty (120) days of the establishment of such fair
      market value on the same payment terms as set forth in
      Section 9.4 of this Agreement.
   We disagree with appellees’ assertion that “fair market
value” is a term of art necessitating reliance on factors outside
of the agreements, and instead agree with Brenda’s reading of
the language of the operating agreements. The plain language
of the agreements clearly states that “the fair market value
shall be determined by an independent and duly qualified
appraiser mutually agreeable to the Company and the estate of
the deceased Member.” We need not rely on anything further to
interpret the agreements’ definition of “fair market value.” We
reject this assignment of error.
   Appellees next assign that the district court erred in finding
that Galloway’s appraisal was the fair market value of Rentals
and Development for purposes of the operating agreements,
that he was independent at the time of his appraisal, that the
appraisal should be dated as of the end of the calendar year
preceding Mark’s death, and that the appraisal was substan-
tially completed as of November 30, 2015.
   [10-12] The credibility of a witness is a question for the
trier of fact, and it is within its province to credit the whole
of the witness’ testimony, or any part of it, which seemed to it
to be convincing, and reject so much of it as in its judgment
is not entitled to credit. 16 A trier of fact is not bound to accept
expert opinion testimony. 17 The determination of the weight
that should be given expert testimony is uniquely the province
of the fact finder. 18 An appellate court will not reevaluate the
credibility of witnesses or reweigh testimony but will review
the evidence for clear error. 19

16
     Fredericks Peebles v. Assam, 300 Neb. 670, 915 N.W.2d 770 (2018).
17
     Id.18
     Id.19
     O’Connor v. Kearny Junction, supra note 5.
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         Nebraska Supreme Court Advance Sheets
                  305 Nebraska Reports
                      BENJAMIN v. BIERMAN
                        Cite as 305 Neb. 879
   The district court did not err in making these challenged
findings. First, the record shows that the parties agreed
Galloway should conduct the appraisal pursuant to the operat-
ing agreements. The record also supports the district court’s
finding that the parties were in agreement that the appraisal
should be done as of December 31, 2014.
   In addition, evidence at trial showed that the appraisal was
originally received by the parties on November 30, 2015, but
that discussions were ongoing as to various issues related to
the appraisal. There is evidence that certain revisions to the
appraisal were made between November 30, 2015, and the end
of March 2016. The record supports the district court’s finding
that the appraisal was substantially complete by November 30
and that November 30 was appropriate from which to calcu-
late the 120-day period from which appellees had to comply
with the terms of the operating agreements for buying out
Mark’s interest.
   The record is undisputed that Galloway eventually repre-
sented Brenda’s interests in various negotiations regarding
Rentals, Development, and BD. The record also shows that
at the time of the appraisal, Galloway was not representing
Brenda, and as such, there was evidence to support the court’s
finding that Galloway was independent.
   We review the factual findings of the district court for clear
error. We find no such error in the district court’s finding that
Galloway’s valuation was the fair market value for purposes
of the operating agreements and in entering judgment accord-
ingly. Appellees’ assignments of error regarding fair market
value are without merit.
               (b) Assignments of Error Related
                   to Breach of Contract and
                      Specific Performance
   Appellees next assign that the district court erred in finding
that they failed to negotiate in good faith when they rejected
Galloway’s valuation and refused to close on the Rentals and
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             Nebraska Supreme Court Advance Sheets
                      305 Nebraska Reports
                          BENJAMIN v. BIERMAN
                            Cite as 305 Neb. 879
Development sales only after the parties failed to reach an
agreement on BD. Appellees further argue that the court erred
in finding that they breached the agreement to buy Mark’s
interest. Again, we review the district court’s factual findings
for clear error and find none.
   At trial, Doug testified that he and Brenda had a meeting
on November 11, 2015, concerning the value of BD at a time
when they were also in negotiations over the value of Rentals
and Development. Doug also testified that 5 minutes into the
meeting, Brenda said she was “done” and walked out.
   But Brenda testified that her son had open heart surgery
in Omaha, Nebraska, on November 10, 2015, and that on
November 11, she was with him as he recovered at the hospi-
tal and was not at any meeting. The district court specifically
found Brenda more credible on this point. The court further
noted that the evidence supported Brenda’s claim that despite
having agreed on the value of Rentals and Development,
appellees rejected Galloway’s valuation and failed to close on
the purchase of Mark’s interests in Rentals and Development
only after the parties could not reach an agreement on the
value of BD.
   We find no error in the district court’s conclusion that these
failures amounted to a failure to negotiate in good faith and a
breach of the contract to purchase Mark’s interests in Rentals
and Development.
   Appellees also assign that the district court erred in not
ordering specific performance of the contract for purchase of
Mark’s shares. A court cannot award specific performance to
the breaching party unless the breach is minor or involves no
substantial failure of the exchange. 20 In this case, the court
specifically found that the breach was not minor and was a
substantial failure of the exchange. As noted above, the breach
involved failure to close on the sale after the terms of the
20
     See Albers v. Koch, 185 Neb. 25, 173 N.W.2d 293 (1969).
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                  305 Nebraska Reports
                      BENJAMIN v. BIERMAN
                        Cite as 305 Neb. 879
operating agreements regarding that sale were met. We agree
that this was not minor and was a substantial failure of the
exchange. This assignment of error is without merit.

               (c) Remaining Assignments of Error
   Appellees also contend that the district court erred in not
adopting the values of its expert as the values for Rentals and
Development.
   Doug had an appraisal of Development performed for pur-
poses of trial with a valuation date of April 14, 2015. The
appraiser set an adjusted value of $860,000 for Mark’s one-
third interest in Development, with a total value of $4,019,019.
The appraiser set an adjusted value of $50,000 for Mark’s one-
half interest in Rentals, with a total value of $133,129.
   There was no error in this determination. As noted above,
the record demonstrates that the parties agreed to be bound by
the fair market value as determined by Galloway. There is no
merit to this assignment of error.
   Appellees next assign that the district court erred in order-
ing them to pay interest on the damages award as of March
30, 2016. Having concluded that Galloway’s fair market value
was binding; that his appraisal was substantially complete as of
November 30, 2015; and that appellees breached the contract
to purchase Mark’s interests, the district court did not err in
concluding that interest should accrue as of March 30, 2016,
or 120 days after the determination of fair market value as
required by the operating agreements. There is no merit to this
assignment of error.
   In their final assignment of error, appellees assign that the
district court erred in awarding Brenda damages. The primary
basis of this assignment of error is appellees’ contention that
the district court erred in its reliance on Galloway’s appraisal.
We have previously found no merit to that assertion.
   We additionally observe that appellees suggest Galloway’s
inclusion of the life insurance proceeds on Mark’s life was
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         Nebraska Supreme Court Advance Sheets
                  305 Nebraska Reports
                     BENJAMIN v. BIERMAN
                       Cite as 305 Neb. 879
incorrect and that this affected the valuation of Rentals and
Development as discussed above, as well as Brenda’s ultimate
award of damages. But appellees did not assign as error any-
thing related to the inclusion of the life insurance proceeds,
perhaps because the district court agreed with that position
and excluded the value of the life insurance when determining
Brenda’s damages award. Accordingly, we find no merit to this
assertion or to appellees’ final assignment of error.

                     VI. CONCLUSION
  The decision of the district court is affirmed.
                                                    Affirmed.
